               Case 19-13568-AJC        Doc 65      Filed 03/04/20      Page 1 of 13




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                    Miami Division
                                  www.flsb.uscourts.gov

 In re:                                             Case No. 19-13568-BKC-AJC

 ALDO VILLEGAS ,                                    Chapter 7

                     Debtor.
 _________________________________/

           TRUSTEE'S MOTION TO APPROVE SETTLEMENT WITH THE DEBTOR

          Chapter 7 Trustee, Barry E. Mukamal (the “Trustee”), by undersigned counsel,

pursuant to Fed. R. Bankr. P. 9019 and Local Rules 9019-1, respectfully requests that the

Court enter an order approving the settlement between the Trustee and Aldo Villegas (the

“Debtor”) and states as follows:

          1.    This case was commenced by the filing of a voluntary Chapter 7 petition on

March 19, 2019 by the Debtor. Barry E. Mukamal was appointed interim trustee and became

permanent trustee by operation of law.

          2.    On December 6, 2018, prior to the Petition Date, the Debtor was involved in an

automobile accident and suffered minor injuries.

          3.    The Debtor contacted the culpable party’s automobile insurer, Progressive

Express Insurance Company (“Progressive”), and initiated Claim Number XX-XXXXXXX ( the

“Claim”), which became property of the bankruptcy estate, pursuant to 11 U.S.C. § 541, upon

the commencement of this bankruptcy proceeding,

          4.    On or about June 20, 2019, the Debtor settled the Claim with Progressive and

entered into a settlement agreement in the gross amount of $16,700.00, which resulted in a

net recovery to the bankruptcy estate in the amount of $9,171.34 (the “Settlement Proceeds”).

Copy of the Closing Settlement Statement is attached hereto as Exhibit “A”.

          5.    After incorporating the Debtor’s personal property exemptions to the


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              Case 19-13568-AJC          Doc 65      Filed 03/04/20      Page 2 of 13




Settlement Proceeds, the non-exempt amount is $5,783.93.

       6.      The Trustee believes that this settlement, attached as Exhibit “B,” should be

accepted and is in the best interest of the bankruptcy estate.

       7.      The Court has broad discretion to approve a settlement or compromise, and it

should do so unless the proposed settlement falls below the lowest point in the range of

reasonableness. In re Bi-Coastal Corp., 164 B.R. 1009, 1016 (Bankr. M.D. Fla. 1993). The

Eleventh Circuit has set forth the following factors that must be considered in determining

whether to approve a settlement or compromise: (a) the probability of success in the litigation;

(b) the difficulties, if any, to be encountered in the matter of collection; (c) the complexity of

the litigation involved, and the expense, inconvenience and delay necessarily attending it;

and (d) the paramount interest of the creditors and a proper deference to their reasonable

views in the premises. In re Justice Oaks II, Ltd., 898 F.2d 1544, 1548 (11th Cir. 1990), cert.

denied 498 U.S. 959 (1990).

      8.       Specifically, with respect to factor (a), while the Trustee believes that the

probability of success is in the Trustee’s favor, any litigation would involve filing an evidentiary

hearing.

      9.       Specifically, with respect to factor (b), the Trustee does not believe any

difficulties would be encountered in the matter of collection.

      10.      Specifically, with respect to factor (c), as mentioned above, the litigation would

involve an although not complex an evidentiary hearing with respect to the entitlement of the

Debtor’s exemptions.

      11.      Specifically, with respect to factor (d), avoiding the litigation would save

significant expense to the bankruptcy estate, and significantly speed up the collection of

assets of the bankruptcy estate.

      12.      The Trustee believes that litigation of the personal injury or possible exemption


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              Case 19-13568-AJC            Doc 65      Filed 03/04/20      Page 3 of 13




issues would result in no greater recovery for the bankruptcy estate and would therefore

request that the Court enter an order approving the aforementioned settlement.

       13.     Based on the above, the Trustee believes that the settlement is in the best

interest of the creditors.

       WHEREFORE, the Trustee respectfully requests the Court enter an order approving

the settlement with the Debtor, as set forth above, in the form set forth in the attached

proposed Order, and for such other and further relief as the Court deems just and proper.

       Dated: March 4, 2020                              LEIDERMAN SHELOMITH ALEXANDER
                                                         + SOMODEVILLA, PLLC.
                                                         Attorneys for Barry E. Mukamal
                                                         2699 Stirling Road, Suite C401
                                                         Ft. Lauderdale, Florida 33312
                                                         Telephone: (954) 920-5355
                                                         Facsimile: (954) 920-5371

                                                         By:_________/s/________________
                                                               FELIPE PLECHAC-DIAZ
                                                               Florida Bar No. 0105483
                                                               fpd@lsaslaw.com



                                    CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served on all parties
listed on the attached creditor matrix on March 4, 2020.

                                                         By:_________/s/________________
                                                               Felipe Plechac-Diaz




                                ________________________
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Case 19-13568-AJC   Doc 65   Filed 03/04/20   Page 4 of 13




             Exhibit “A”
Case 19-13568-AJC   Doc 65   Filed 03/04/20   Page 5 of 13
Case 19-13568-AJC   Doc 65   Filed 03/04/20   Page 6 of 13
Case 19-13568-AJC   Doc 65   Filed 03/04/20   Page 7 of 13
Case 19-13568-AJC   Doc 65   Filed 03/04/20   Page 8 of 13




             Exhibit “B”
Case 19-13568-AJC   Doc 65   Filed 03/04/20   Page 9 of 13
Case 19-13568-AJC   Doc 65   Filed 03/04/20   Page 10 of 13
Case 19-13568-AJC   Doc 65   Filed 03/04/20   Page 11 of 13
                                  Case 19-13568-AJC     Doc 65         Filed 03/04/20   Page 12 of 13
Label Matrix for local noticing               Synchrony Bank                                 (p)AMSCOT CORPORATION
113C-1                                        PRA Receivables Management, LLC                ATTN RUBINA SHALDJIAN
Case 19-13568-AJC                             PO Box 41021                                   600 N WESTSHORE BLVD #1200
Southern District of Florida                  Norfolk, VA 23541-1021                         TAMPA FL 33609-1117
Miami
Wed Mar 4 08:43:34 EST 2020
Amy J. Winarsky                               BB&T, Bankruptcy Section                       BB&T
C/O MARCADIS SINGER P.A.                      100-50-01-51                                   POB 580048
5104 South Westshore Blvd.                    PO Box 1847                                    Charlotte, NC 28258-0048
Tampa, FL 33611-5650                          Wilson, NC 27894-1847


Citibank/The Home Depot                       Comenity Bank/Victoria Secret                  Credit One Bank
Attn: Recovery/Centralized Bankruptcy         Attn: Bankruptcy                               Attn: Bankruptcy Department
Po Box 790034                                 Po Box 182125                                  Po Box 98873
St Louis, MO 63179-0034                       Columbus, OH 43218-2125                        Las Vegas, NV 89193-8873


Credit One Bank                               Federal Insurance Company                      Fingerhut
Po Box 98875                                  c/o Marcadis Singer, P.A.                      Attn: Bankruptcy
Las Vegas, NV 89193-8875                      5104 S Westshore Boulevard                     Po Box 1250
                                              Tampa, FL 33611-5650                           Saint Cloud, MN 56395-1250


First Premier Bank                            First Premier Bank                             Hyundai Motor Finance
601 S Minnesota Ave                           Attn: Bankruptcy                               Attn: Bankruptcy
Sioux Falls, SD 57104-4868                    Po Box 5524                                    Po Box 20829
                                              Sioux Falls, SD 57117-5524                     Fountain City, CA 92728-0829


LVNV Funding, LLC                             LVNV Funding/Resurgent Capital                 Midland Funding
Resurgent Capital Services                    Attn: Bankruptcy                               2365 Northside Dr Ste 300
PO Box 10587                                  Po Box 10497                                   San Diego, CA 92108-2709
Greenville, SC 29603-0587                     Greenville, SC 29603-0497


Office of the US Trustee                      Plain Green Loans                              (p)PORTFOLIO RECOVERY ASSOCIATES LLC
51 S.W. 1st Ave.                              Attn: Bankruptcy                               PO BOX 41067
Suite 1204                                    1900 Frost Rd Ste 100                          NORFOLK VA 23541-1067
Miami, FL 33130-1614                          Bristol, PA 19007-1519


Portfolio Recovery                            Quantum3 Group LLC as agent for                Regional Acceptance Co
Po Box 41021                                  MOMA Trust LLC                                 5400-A West Sample Rd
Norfolk, VA 23541-1021                        PO Box 788                                     Margate, FL 33073-3475
                                              Kirkland, WA 98083-0788


Regions Bank                                  Reliant Holdings, In                           Synchrony Bank/ JC Penneys
POB 830721                                    Attn: Bankruptcy Department                    Attn: Bankruptcy
Birmingham, AL 35283-0721                     1707 Warren Rd.                                Po Box 956060
                                              Indiana, PA 15701-2423                         Orlando, FL 32896-0001


Visa Dept Store National Bank/Macy’s          Aldo Villegas                                  Barry E Mukamal
Attn: Bankruptcy                              1655 W 56 Street                               PO Box 14183
Po Box 8053                                   Hialeah, FL 33012-2061                         Fort Lauderdale, FL 33302-4183
Mason, OH 45040-8053
                                 Case 19-13568-AJC              Doc 65       Filed 03/04/20        Page 13 of 13

                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Amscot Financial,                                     Portfolio Recovery                                   (d)Portfolio Recovery Associates, LLC
P.O. Box 25137                                        120 Corporate Blvd Ste 1                             POB 41067
Tampa, FL 33622                                       Norfolk, VA 23502                                    Norfolk VA 23541




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Miami                                              End of Label Matrix
                                                      Mailable recipients    29
                                                      Bypassed recipients     1
                                                      Total                  30
